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 7

 8                                 UNITED STATES DISTRICT COURT
                                  NORTHERN DISTRICT OF CALIFORNIA
 9
     IN RE TESLA, INC. SECURITIES                        Case No. 3:18-cv-04865-EMC
10   LITIGATION
                                                         [PROPOSED] ORDER GRANTING
11
                                                         PLAINTIFF’S ADMINISTRATIVE
12                                                       MOTION TO FILE UNDER SEAL

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14
            This matter comes before the Court on Plaintiff’s Administrative Motion to File Under Seal
15
     (“Motion”) portions of Plaintiff’s accompanying Motion for Partial Summary Judgment.
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            The Court has considered the Motion, any supporting material and requests by any interested
17
     party or non-party to seal the materials identified herein, and finds good cause to file under seal the
18
     following materials:
19

20                          Document                            Portions to be Filed
21                                                              Under Seal
                            Plaintiff’s Motion for Partial      Redacted/highlighted
22                          Summary Judgment                    portions of
                                                                Memorandum of
23                                                              Points and
                                                                Authorities
24
                            Exhibit 44                          Entirety
25                          Exhibit 45                          Entirety
                            Exhibit 46                          Entirety
26                          Exhibit 47                          Entirety
                            Exhibit 58                          Entirety
27
                            Exhibit 79                          Entirety
28                          Exhibit 81                          Entirety
                            Exhibit 82                          Entirety
              Exhibit 83                         Entirety
 1
              Exhibit 90                         Entirety
 2            Exhibit 91                         Entirety
              Exhibit 101                        Entirety
 3            Exhibit 113                        Entirety
              Exhibit 114                        Entirety
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              Exhibit 115                        Entirety
 5            Exhibit 116                        Entirety
              Exhibit 117                        Entirety
 6            Exhibit 118                        Entirety
              Exhibit 119                        Entirety
 7            Exhibit 120                        Entirety
 8            Exhibit 121                        Entirety
              Exhibit 146                        Entirety
 9            Exhibit 147                        Entirety
              Exhibit 150                        Entirety
10            Exhibit 151                        Entirety
11            Exhibit 155                        Entirety
              Exhibit 157                        Entirety
12            Exhibit 158                        Entirety
              Exhibit 165                        Entirety
13            Exhibit 175                        Entirety
14            Exhibit 179                        Entirety
              Exhibit 194                        Entirety
15            Exhibit 201                        Entirety
              Exhibit 301                        Entirety
16            Deepak Ahuja Deposition            Entirety
              (excerpts)
17
              Deepak Ahuja SEC Transcript        Entirety
18            (excerpts)
              Robyn Denholm Deposition           Entirety
19            (excerpts)
              Egon-Pierre Durban Deposition      Entirety
20
              (excerpts)
21            Egon-Pierre Durban SEC             Entirety
              Transcript (excerpts)
22            Nii Owuraka Koney Deposition       Entirety
              (excerpts)
23            Elon Musk Deposition (excerpts)    Entirety
24            Elon Musk SEC Transcript           Entirety
              (excerpts)
25
              Sam Teller Deposition (excerpts)   Entirety
26            Martin Viecha Deposition           Entirety
              (excerpts)
27
     IT IS SO ORDERED.
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                                        -2-
                           DECLARATION OF ADAM M. APTON
                            CASE NO. 3:18-CV-04865-EMC
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 2
     Dated: ___________________                     _____________________________
 3                                                  Hon. Edward M. Chen
                                                    United States District Judge
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                                  DECLARATION OF ADAM M. APTON
                                   CASE NO. 3:18-CV-04865-EMC
